Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                        Page 1 of 32 PageID 12

                                                                                                     FILED
                                                                                       TARRANT COUNTY
                                                                                      1/13/2015 5:02:49 P M
                                                                                       T H O M A S A. WILDER
                                                                                          DISTRICT CLERK

                                           067-276380-15
                           C A U S E NO.

K H A M B A O MONTGOMERY                        §              I N THE DISTRICT COURT
MULDOON                                         §
                                                §
V,                                              §                       JUDICIAL COURT
                                                §
                                                §
STATE F A R M LLOYDS                            §             T A R R A N T COUNTY,
AND WENDY LACEY                                 §             TEXAS               A

                                                                                   THOMAS A. WILDER
                         PLAINTIFF'S ORIGINAL PETITION                              DISTRICT CLERK
                                                                                 TARRANT COUNTY, TEXAS
TO THE HONORABLE JUDGE OF SAID COURT:

        N O W Comes Khambao Montgomery Muldoon, hereinafter referred to as "Plaintiff,"

complaining o f Defendants, State Farm Lloyds and Wendy Lacey (hereinafter collectively

referred to as "Defendants") and hereby respectfully shows unto the Court and Jury as

follows;

                           I, D I S C O V E R Y C O N T R O L P L A N

        Plaintiff intends for discovery to be conducted under Level 3 o f Rule 190 o f the

Texas Rules o f Civil Procedure.     This case involves complex issues and w i l l require

extensive discovery. Therefore, Plaintiff asks the Court to order that discovery be conducted

in accordance with a discovery control plan tailored to the particular circumstances o f this

suit.

                                        II. PARTIES

        Plaintiff, Khambao Montgomery Muldoon, is an individual and resident o f Texas.

        Defendant, State Farm Lloyds ("State Farm"), is a Texas domestic Lloyd's plan

insurance company that, on information and belief, is licensed to conduct the business of

insurance in Texas and/or has its principal place of business located in Texas. Additionally,


                                         Page 1 of 21                                   EXHIBIT
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                            Page 2 of 32 PageID 13

                                        067-276380-15



one or more o f State Farm's "members' are citizens of Texas. It can be served with citation

by serving its registered agent, Rendi Black c/o State Farm, by certified mail, return receipt

requested, at 17301 Preston Rd., Dallas, Texas 75252-5727.

       Defendant, Wendy Lacey ("Lacey"), is a citizen of Texas who can be served with

process by certified mail, return receipt requested, at 4906 Saddleback Rd., Arlington, Texas

75017-3042, or wherever else she may be found.

                            I I I . J U R I S D I C T I O N AND V E N U E

       This Court has jurisdiction over this case in mat the amount in controversy exceeds

the minimum jurisdictional limits of this Court.

       Venue is mandatory and proper in Tarrant County, Texas, because all or a substantial

part of the events giving rise to the lawsuit occurred in this county (see Tex. Civ. Prac. &

Rem, Code §15.002) and the insured property that is the basis of this lawsuit is located in

Tarrant County, Texas. See Tex. Ins. Code §2210.552 and Tex. Civ, Prac. & Rem. Code

§15.032 (see below). Venue is proper and mandatory in Tarrant County against all the

Defendants i n this case because venue is mandatory and/or proper against at least one

Defendant and all claims or actions in this case arise out of the same transaction, occurrence,

or series of transaction or occurrences. See Tex. Civ. Prac. & Rem. Code §15.005.

                             I V. C O N D I T I O N S P R E C E D E N T

       A l l conditions precedent to recovery have been performed, waived, or have occurred.

                                            V. F A C T S

A.     Plaintiff is the owner o f insurance Policy Number 58TR71987 issued by Defendant,

       State Farm (hereinafter referred to as the "Policy").




                                           Page 2 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                    Page 3 of 32 PageID 14

                                      067-276380-15



B.    Plaintiff owned the insured property, which is specifically located at 6305 Fox Hunt

      Dr., Arlington, Texas 76001 on February 12, 2013 (hereinafter referred to as the

      "Property"),

C.    Defendant State Farm or its agent sold the Policy, insuring the Property, to Plaintiff.

D.    On or about February 12, 2013, a wind and hailstorm struck the Arlington, Texas area

      causing severe damage to homes and businesses throughout the area, including

      Plaintiffs Property.

E.    Plaintiff submitted a claim to State Farm against the Policy for roof damage and water

      damage the Property sustained as a result of the wind and hailstorm. Plaintiff asked

      that State Farm cover the cost of repairs to the Property pursuant to the Policy and any

      other available coverages under the Policy.

F.    Defendants have assigned claim number 43252M-222 to Plaintiffs claim.

G.    Defendant Lacey was the agent for State Farm and represented State Farm in regard to

      Plaintiffs claim. Lacey also adjusted the Plaintiffs claim by investigating, processing,

      evaluating, approving, and/or denying, in whole or in part, Plaintiffs claim. As such,

      Lacey acted as an insurance adjuster engaged i n the business of insurance with respect

      to the Plaintiffs insurance claim. Therefore, Lacey is a "person" who is individually

      liable for her unfair methods of competition or unfair or deceptive acts or practices

      under the Texas Insurance Code and the DTPA. Furthermore, Lacey acted as the agent

      and representative for State Farm in this claim.

H.    Defendant Lacey improperly adjusted the Plaintiffs claim. Defendant Lacey conducted

      a substandard inspection, which is evidenced i n her report, which failed to include




                                        Page 3 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 4 of 32 PageID 15

                                          067-276380-15



                                      1
       many of Plaintiffs damages.         Her estimate did not allow adequate funds to cover

       repairs to restore Plaintiffs home. Without limitation, Lacey misrepresented the cause

       of, scope of, and cost to repair the damage to Plaintiffs Property, as well as the amount

                                                                                                2
       of and insurance coverage for Plaintiffs claim/loss under Plaintiffs insurance policy.

       Lacey made these and other misrepresentations to Plaintiff as well as to State Farm.

       Plaintiff and State Farm both relied on Lacey's misrepresentations, including but not

       limited those regarding the cause of, scope of, and cost to repair the damage to

       Plaintiffs Property, and Plaintiff has been damaged as a result of such reliance.

       Lacey's misrepresentations caused State Farm to underpay Plaintiff on her insurance

       claim and, as such, Plaintiff has not been able to properly and completely repair the

       damages to Plaintiffs property.        This has caused additional, further damage to

       Plaintiffs property, Lacey also advised Plaintiff as to how she could repak her Property

                                                                   3
       so as to prevent further damage to the Plaintiffs Property, This advice was negligent

       and false because it turns out Plaintiff could not properly repair her Property and

       prevent future damage by following Lacey's advice. Plaintiffs Property has sustained

       further damages as a result.

I.     Defendants State Farm and Lacey misrepresented that the damages caused by the wind

                                                          4
       and hailstorm were below the Policy deductible. However, Defendants' representations

       were false because Plaintiffs wind and hailstorm damages exceed $44,000.00.




1
  See Exhibit A: Defendant Lacey's Adjustment Report Dated February 22, 2013,
2
  Id.
3
  Id.
'Id.
                                           Page 4 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 5 of 32 PageID 16

                                      067-276380-15



J.    Defendants State Farm and Lacey failed to properly adjust the claims and Defendants

      have denied at least a portion of the claims without an adequate investigation, even

      though tire Policy provided coverage for losses such as those suffered by Plaintiff.

K.    These false representations allowed Defendants to financially gain by wrongfully

      denying at least a portion of Plaintiff s claim.

L.    Plaintiffs claim(s) still remain unpaid and the Plaintiff still has not been able to

      properly repair the Property.

M.    Defendant State Farm failed to perform its contractual duty to adequately compensate

      Plaintiff under the terms of the Policy. Specifically, Defendant failed and refused to

      pay the f u l l proceeds of the Policy, although due demand was made for proceeds to be

      paid i n an amount sufficient to cover the damaged Property and all conditions precedent

      to recovery upon the Policy had been carried out and accomplished by Plamtiff.

      Defendant's conduct constitutes a breach of the insurance contract between Defendant

      and Plaintiff.

N.    Defendants misrepresented to Plaintiff that the damage to the Property was not covered

      under the Policy, even though the damage was caused by a covered occurrence.

      Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE Section 541.060(a)(1).

O.    Defendants failed to make an attempt to settle Plamtiff s claim in a fair manner,

      although they were aware of their liability to Plaintiff under the Policy. Defendants'

      conduct constitutes a violation o f the Texas Insurance Code, Unfair Settlement

      Practices. TEX. INS. CODE Section 541.060 (a)(2)(A).




                                         Page 5 o f 2 1
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                    Page 6 of 32 PageID 17

                                      067-276380-15



P.    Defendants failed to explain to Plaintiff the reasons for their offer o f an inadequate

      settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation,

      without any explanation why full payment was not being made.                 Fitrthermore,

      Defendants did not communicate that any future settlements or payments would be

      forthcoming to pay for the entire losses covered under the Policy, nor did they provide

      any explanation for the failure to adequately settle Plaintiffs claim. TEX. INS. CODE

      Section 541.060(a)(3).

Q.    Defendants failed to affirm or deny coverage of Plaintiffs claim within a reasonable

      time. Specifically, Plaintiff did not receive timely indication of acceptance or rejection,

      regarding the foil and entire claim, in writing from Defendants. Defendants' conduct

      constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX,

      INS, CODE Section 541.060(a)(4).

R.    Defendants refused to fully compensate Plaintiff, under the terms of the Policy, even

      though Defendants failed to conduct a reasonable investigation,               Specifically,

      Defendants performed an outcome-oriented investigation of Plaintiffs claim, which

      resulted in a biased, unfair and inequitable evaluation of Plaintiffs' losses to the

      Property.   Defendants' conduct constitutes a violation of the Texas Insurance Code,

      Unfair Settlement Practices, TEX. INS. CODE Section 541.060 (a)(7).

S.    Defendants failed to meet their obligations under the Texas Insurance Code regarding

      timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiff s claim

      and requesting all information reasonably necessary to investigate Plaintiffs claim

      within the statutorily mandated deadline. Defendants' conduct constitutes violation of




                                         Page 6 o f 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 7 of 32 PageID 18

                                      067-276380-15



      the Texas Insurance Code, Prompt Payment of Claims, TEX. INS. CODE Section

      542.055.

T.    Defendants failed to accept or deny Plaintiff's full and entire claim within the statutory

      mandated deadline of receiving all necessary information.           Defendants' conduct

      constitutes violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

      INS. CODE Section 542.056.

U.    Defendants failed to meet their obligations under the Texas Insurance Code regarding

      payment of claim without delay. Specifically, Defendants have delayed f u l l payment of

      Plaintiffs claim longer than allowed and, to date, Plaintiff has not yet received full

      payment for her claim.       Defendants' conduct constitutes violation of the Texas

      Insurance Code, Prompt Payment of Claims, TEX. INS. CODE Section 542.058.

V.    From and after the time Plaintiffs claim, was presented to Defendants, the liability of

      Defendants to pay the full claim in accordance with the terms of the Policy was

      reasonably clear. However, Defendants have refused to pay Plaintiff i n full, despite

      there being no basis whatsoever on which a reasonable insurance company would have

      relied to deny the f u l l payment.    Defendants' conduct constitutes a breach of the

      common law duty o f good faith and fair dealing.

W.    As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain

      the professional services of Hie attorney and law firm who is representing Plaintiff with

      respect to these causes of action.

X.    Plaintiffs experience is not an isolated case. The acts and omissions o f Defendants

      committed in this case, or similar acts and omissions, occur with such frequency that

      they constitute a general business practice of Defendants with regard to handling these



                                           Page 7 o f 2 1
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                      Page 8 of 32 PageID 19

                                        067-276380-15



        types of claims. Defendants' entire process is unfairly designed to reach favorable

        outcomes for the company at the expense of the policyholder.

                               V I . THEORIES O F L I A B I L I T Y

A. Cause of Action for Breach of Contract Against State Farm

        Plaintiff realleges and incorporates by reference all previous and subsequent

paragraphs herein.

        According to the Insurance Policy that Plamtiff purchased, State Farm has the duty

to investigate and pay Plaintiffs policy benefits for claims made for covered damages,

mcluding additional benefits under the Policy, resulting from the wind and hailstorm. As a

result o f the wind and hailstorm and/or ensuing losses from the wind and hailstorm, both of

which are covered perils'under the Policy, Plaintiffs Property has been damaged.

        Defendant's failure and refusal, as described above, to pay the adequate

compensation as it is obligated to do under the terms o f the Policy in question and under the

laws o f the State of Texas, constitutes a breach o f Defendant's contract with Plaintiff. As a

result o f this breach o f contract, Plaintiff has suffered the damages that are described i n this

petition,

B. Cause of Action for Violation of Section 542 Against State Farm and Lacey

        Plaintiff realleges and incorporates by reference all previous and subsequent

paragraphs herein.

        Defendants' acts, omissions, failures and conduct that are described in this petition

violate Section 542 of the Texas Insurance Code. Within the timeframe required after the

receipt o f either actual or written notice of Plaintiff s claim, Defendants did not request from

Plaintiff any items, statements, and forms that they reasonably believed at that time would



                                          Page 8 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 9 of 32 PageID 20


                                      067-276380-15



be required from Plaintiff for Plaintiffs claim.      As a result, Defendants have violated

Section 542 by failing to accept or reject Plaintiffs claim in writing within the statutory

timeframe. Defendants also violated Section 542 by failing to pay Plaintiffs claim within

the applicable statutory period. I n addition, i n the event it is determined Defendants owe

Plaintiff any additional monies on Plaintiffs claim, Defendants have automatically violated

Section 542 in this case.

C. D T P A Cause of Action Against State Farm and Lacey

        Plaintiff realleges and incorporates by reference all previous and subsequent

paragraphs herein.

        Plaintiff incorporates all the allegations i n this petition for this cause of action

against Defendants under the provisions of the DTPA. Plaintiff is a consumer o f goods and

services provided by Defendants pursuant to the DTPA.         Plaintiff has met all conditions

precedent to bringing this cause o f action against Defendants. Specifically, Defendants'

violations of the DTPA include, without limitation, the following matters:

        By their acts, omissions, failures, and conduct that are described i n this petition,

Defendants have violated. Sections 17.46 (b)(2), (5), (7), (9), (12), (20) and (24) of the

DTPA.     In this respect, Defendants' violations include, without limitation, (1) their

unreasonable delays in the investigation, adjustment and resolution o f Plaintiff s claim, (2)

their failure to give Plaintiff the benefit of the doubt, and (3) their failure to pay for the

proper repair of Plaintiffs home on which liability had become reasonably clear, which

gives Plaintiff the right to recover under Section 17.46 (b)(2).

        As described in this petition, Defendants represented to Plaintiff that their insurance

policy and Defendants' adjusting and investigative services had characteristics or benefits



                                         Page 9 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 10 of 32 PageID 21


                                       067-276380-15



that it did not have, which gives Plaintiff the right to recover under Section 17.46 (b)(5) of

the DTPA;

        As described i n this petition, Defendants represented to Plaintiff that their insurance

policy and Defendants' adjusting and investigative services were of a particular standard,

quality, or grade when they were of another in violation of Section 17.46 (b)(7) of the

DTPA;

        As described i n this petition, Defendants advertised their insurance policy and

adjusting and investigative services with intent not to sell them as advertised i n violation of

Section 17.46 (b)(9) of the DTPA;

        As described i n this petition, Defendants represented to Plaintiff that their insurance

policy and Defendants' adjusting and investigative services conferred or involved rights,

remedies, or obligations that it did not have, which gives Plaintiff the right to recover under

 Section 17.46 (b)(12) o f the DTPA;

        As described i n this petition, Defendants failed to disclose information concerning

goods or services which were known at the time o f the transaction and such failure to

 disclose was intended to induce Plaintiff into a transaction into which the Plaintiff would not

have entered had the information been disclosed, which gives Plaintiff tire right to recover

under Section 17.46 (b)(24) of the DTPA;

        Defendants have breached, an express warranty that the damage caused by the wind

 and hailstorm would be covered under the insurance policies. This breach entitles Plaintiff

 to recover under Sections 17.46 (b)(12) and (20) and 17.50 (a)(2) o f the DTPA;

        Defendants' actions, as described in this petition, are unconscionable i n that they

 took advantage o f Plaintiff s lack of knowledge, ability, and experience to a grossly unfair



                                         Page 10 o f 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 11 of 32 PageID 22


                                       067-276380-15



degree, Defendants' unconscionable conduct gives Plaintiff the right to relief under Section

17.50(a)(3) of the DTPA; and

        Defendants' conduct, acts, omissions, and failures, as described in this petition, are

unfair practices i n the business of insurance i n violation of Section 17.50 (a)(4) of the

DTPA.

        A l l of the above-described acts, omissions, and failures o f Defendants are a

producing cause of Plaintiffs damages that are described i n this petition. A l l of the above-

described acts, omissions, and failures of Defendants were done knowingly and intentionally

as those terms are used i n the Texas Deceptive Trade Practices Act.

D. Cause of Action f o r U n f a i r Insurance Practices Against State F a r m and Lacey

        Plaintiff realleges and incorporates by reference all previous and subsequent

paragraphs herein.

        Plaintiff incorporates all the allegations in this petition for this cause of action

 against Defendants under the Texas Insurance Code. Plaintiff has satisfied all conditions

 precedent to bringing this cause of action. By their acts, omissions, failures, and conduct,

 Defendants have engaged in unfair and deceptive acts or practices in the business o f

 insurance in violation of 541 of the Texas Insurance Code, Such violations include, without

 limitation, all the conduct described in this petition plus Defendants' unreasonable delays i n

 the investigation, adjustment, and resolution of Plaintiffs claim and Defendants' failure to

 pay for the proper repair of Plaintiffs home on which liability had become reasonably clear.

 They further include Defendants' failure to give Plaintiff the benefit of the doubt.

 Specifically, Defendants are guilty of the following unfair insurance practices:

        A.      Engaging i n false, misleading, and deceptive acts or practices in the business

                of insurance in this case;

                                         Page 11 o f 2 1
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                     Page 12 of 32 PageID 23


                                      067-276380-15



       B.      Engaging in unfair claims settlement practices;

       C.      Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the

               coverage at issue;

       D.      Not attempting i n good faith to effectuate a prompt, fair, and equitable

               settlement of claims submitted i n which liability has become reasonably

                clear;

        E.      Failing to affirm or deny coverage o f Plaintiffs claim within a reasonable

                time;

        F.      Refusing to pay      Plaintiffs   claim    without   conducting a     reasonable

                investigation with respect to the claim; and

        G.      Failing to provide promptly to a policyholder a reasonable explanation o f the

                basis in the insurance policy i n relation to the facts or applicable law for the

                denial of a claim, or for the offer of a company's settlement,

        Defendants have also breached the Texas Insurance Code when they breached their

 duty of good faith and fair dealing. Defendants' conduct as described herein has resulted in

 Plaintiffs damages that are described in this petition.

        A l l o f the above-described acts, omissions, and failures o f Defendants were done

 knowingly as that term is used i n the Texas Insurance Code.

 E.   Cause of Action for Breach of Duty of Good Faith and Fair Dealing Against State

 Farm and Lacey

        Plaintiff realleges and incorporates by reference all previous and subsequent

 paragraphs herein.




                                          Page 12 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                      Page 13 of 32 PageID 24


                                          067-276380-15



           Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of

action.      By its acts, omissions, failures and conduct, Defendants have breached their

common law duty of good faith and fair dealing by failing to pay the proper amounts on

Plaintiffs entire claim without any reasonable basis and by failing to conduct a reasonable

investigation to determine whether there was a reasonable basis for this denial. Defendants

have also breached this duty by unreasonably delaying payment of Plaintiff s entire claim

and by failing to settle Plaintiffs entire claim because Defendants knew or should have

known that it was reasonably clear that the claim was covered.             These acts, omissions,

failures, and conduct of Defendants are a proximate cause of Plaintiff s damages.

F. Cause of Action for Fraud Against State Farm and Lacey

           Plaintiff realleges and incorporates by reference all previous and subsequent

paragraphs herein.

           Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of

 action.     The Defendants, jointly and severally, made false representations and/or false

 promises to Plamtiff.       These false representations and/or false promises made by the

 Defendants were material misrepresentations or omissions of fact upon which the

 Defendants intended that Plaintiff would rely, and upon which Plamtiff did reasonably rely

 to her detriment. The representations and/or promises by the Defendants were false and

 were made either intentionally or recklessly without regard to their truth or falsity and with

 the intent to induce Plaintiff into purchasing the insurance policy at issue and/or to accept as

 true and correct the adjustment o f Plaintiffs claim.             As a result of the material

 misrepresentations and omissions upon which Plaintiff detrimentally relied, Plaintiff has

 suffered damages substantially in excess of the minimum jurisdictional limits o f this Court.



                                            Page 13 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                    Page 14 of 32 PageID 25

                                       067-276380-15



        The fraudulent acts and/or omissions o f the Defendants, as set forth herein, are

sufficient, under Chapter 41 of the Texas Civil Practices and Remedies Code, to justify the

imposition of punitive damages against Defendants.

        Plaintiff seeks herein, as a result, of the Defendants' fraud, Plaintiffs actual

damages, consequential damages, incidental damages, compensatory damages, mental

anguish damages, punitive damages, costs o f court, pre-judgment interest, and post-

judgment interest.

 G.   Cause of Action f o r Conspiracy Against State F a r m and Lacey

        Plaintiff realleges and incorporates by reference all previous and subsequent

 paragraphs herein.

        Plaintiff incorporates all the allegations o f the preceding paragraphs for this cause of

 action. The Defendants were members o f a combination of two persons; the object of the

 combination was to accomplish an unlawful purpose and/or a lawful purpose by unlawful

 means as set forth in the factual allegations and causes o f action detailed above, including,

 but not limited to, to violate the DTPA, to violate Section 542 and 541 of the Texas

 Insurance Code, to commit unfair and deceptive insurance practices, to commit fraud and

 fraudulent inducement, to commit breaches of contract, and to commit breaches of the duty

 o f good faith and fair dealing; the Defendants had a meeting o f the minds on the object or

 course of action; one or more o f the Defendants committed an unlawful, overt act,

 including, but not limited to violating the DTPA, violating Section 542 and 541 of the

 Texas Insurance Code, committing urrfair and deceptive insurance practices, committing

 fraud and fraudulent inducement, committing breaches of contract, and committing

 breaches o f the duty of good faith and fair dealing to further the object or course of action



                                          Page 14 o f 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                    Page 15 of 32 PageID 26

                                       067-276380-15



which, among other tilings, was intended to deprive the Plaintiff o f the benefit and coverage

of the insurance Policy that she purchased; and Plaintiff suffered injury as a proximate

result o f the wrongful act(s) and/or omission(s).

        The conspiratorial acts committed by the Defendants set forth herein were

committed with gross negligence, fraud and/or malice, as those terms are used i n Chapter 41

of the Texas Civil Practices and Remedies Code, such as to justify the imposition o f

punitive damages against the Defendants.

        Plaintiff seeks, as a result of the Defendants' conspiracy as set forth herein,

Plaintiffs actual damages, consequential damages, incidental damages, compensatory

damages, mental anguish damages, punitive damages, pre-judgment interest, post-judgment

interest, costs of court, expenses of the litigation, and reasonable and necessary attorneys'

fees through trial and all appeals in this matter, as allowed by law.

II.   Cause of Action for A i d i n g and Abetting Against State F a r m and Lacey

Plaintiff realleges and incorporates by reference all previous and subsequent paragraphs and

 allegations herein.

         1. Assisting or Encouraging

         The Defendants committed a tort or toils against the Plaintiff, as described and pled

for herein, including, but not limited to, to violate the DTPA, to violate Section 542 and 541

 of the Texas Insurance Code, to commit unfair and deceptive insurance practices, to commit

fraud and fraudulent inducement, to commit breaches o f contract, and to commit breaches o f

the duty o f good faith and fair dealing. The other Defendant(s) had knowledge that the

 primary actor's conduct constituted a tort or torts. The other Defendant(s) had the intent to

 assist the primary actor in committing the tort(s). The other Defendant(s) gave the primary



                                         Page 15 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                      Page 16 of 32 PageID 27

                                         067-276380-15



actor assistance or encouragement.      The other Defendant(s)' assistance or encouragement

was a substantial factor i n causing the tort(s).        Therefore, all of the Defendant(s) are

considered tortfeasors and are responsible for the consequences of the tort(s), including joint

and several liability for the damages suffered by the Plaintiff as described herein.

           The assisting or encouraging "aiding and abetting" acts committed by the

Defendants set forth herein were committed with gross negligence, fraud and/or malice, as

those terms are used in Chapter 41 o f the Texas Civil Practices and Remedies Code, such as

to justify the imposition o f punitive damages against the Defendants.

           Plaintiff seeks, as a result o f the Defendants' assisting or encouraging "aiding and

 abetting" acts as set forth herein, Plaintiffs actual damages, consequential damages,

 incidental damages, compensatory damages, mental anguish damages, punitive damages,

 attorney's fees through trial and all appeals i n this matter, expert witness fees, costs of court,

 costs for copies o f depositions, pre-judgment interest, and post-judgment interest, as allowed

 by law.

           2. Assisting and Participating

           The Defendants committed a tort or torts against the Plaintiff, as described and pled

 for herein, including, but not limited to, to violate the DTPA, to violate Section 542 and 541

 of the Texas Insurance Code, to commit unfair and deceptive insurance practices, to commit

 fraud and fraudulent inducement, to commit breaches of contract, and to commit breaches of

 the duty of good faith and fair dealing. The primary actor's activity accomplished a tortious

 result.    The other Defendant(s) provided substantial assistance to the primary actor in

 accomplishing the tortious result. The other Defendant(s)' own conduct, separate from the

 primary actor's, was a breach of duty to the Plaintiff. The other Defendant(s)' participation



                                           Page 16 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                      Page 17 of 32 PageID 28

                                          067-276380-15



was a substantial factor i n causing the tort or torts, Therefore, all of the Defendants are

considered tortfeasors and are responsible for the consequences of the tort(s), including joint

and several liability for the damages suffered by the Plaintiff as described herein.

        The assisting and participating "aiding and abetting" acts committed by the

Defendants set forth herein were committed with gross negligence, fraud and/or malice, as

those terms are used i n Chapter 41 of the Texas Civil Practices and Remedies Code, such as

to justify the imposition of punitive damages against the Defendants.

           Plaintiff seeks, as a result o f the Defendants' assisting and participating "aiding and

 abetting" acts as set forth herein, Plaintiffs actual damages, consequential damages,

 incidental damages, compensatory damages, mental anguish damages, punitive damages,

 attorney's fees through trial and all appeals in this matter, expert witness fees, costs of court,

 costs for copies o f depositions, pre-judgment interest, and post-judgment interest, as allowed

 by law.

 I. Cause of Action for Negligence and Gross Negligence Against Lacey

           Plaintiff realleges and incorporates by reference all previous paragraphs and

 allegations herein.

           The Defendant Lacey was negligent i n giving advice to Plaintiff as to how she could

 repair her Property so as to prevent further damage to the Plaintiffs Property. This advice

 as to how to repair Plaintiffs Property was negligent because Plaintiff could not properly

 repair her Property and prevent future damage by following Lacey's advice. Plaintiffs

 Property has sustained further damages as a result. Lacey owed a duty to use reasonable care

 when he undertook to advise the Plaintiff as to how she could repair her Property so as to




                                            Page 17 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                   Page 18 of 32 PageID 29

                                       067-276380-15



prevent further damage to the Plaintiffs Property. Defendant Lacey breached this legal

duty. The breach proximately caused injury to the Plaintiff.

         The acts and failures to act set forth herein were committed with gross negligence, as

this term is used i n Chapter 41 of the Texas Civil Practices and Remedies Code, such as to

justify the imposition of exemplary damages against the Defendant Lacey.

J . Cause of Action for Negligent Misrepresentation Against Lacey

         Plaintiff realleges and incorporates by reference all previous and subsequent

paragraphs and allegations herein.

         Additionally and/or in the alternative, the above and foregoing acts and omissions of

Defendant Lacey constitute negligent misrepresentations that have caused damages to

Plamtiff. Defendant Lacey made representations to Plaintiff in the course of Plaintiffs

business or i n a transaction i n which Defendant had an interest. The Defendant supplied

false information f o r the guidance of others, including Plaintiff. The Defendant did not

 exercise reasonable care or competence in obtaining or communicating the information to

 Plaintiff.   Plaintiff justifiably relied upon such representations, and the Defendant's

 negligent misrepresentations proximately caused further damages to Plaintiffs Property.

         The misrepresentations, acts and/or failures to act set forth herein were committed

 with gross negligence, fraud and/or malice, as those terms are used i n Chapter 41 of the

 Texas Civil Practices and Remedies Code, such as to justify the imposition of punitive

 damages against Defendant Lacey,

         Plaintiff seeks herein, as a result of Defendant's negligent misrepresentations,

 Plaintiffs actual damages, consequential damages, incidental damages, compensatory




                                         Page 18 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                        Page 19 of 32 PageID 30


                                          067-276380-15



damages, mental anguish damages, punitive damages, costs o f court, pre-judgment interest,

and post-judgment interest.

                                V I I , WAIVER AND ESTOPPEL

         Defendants have waived and are estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights

 letter to Plamtiff.

                                         V I I I . DAMAGES

         The above described acts, omissions, failures and conduct o f Defendants has caused

 P l a i n t i f f s damages, which include, without limitation, the cost to properly repair Plaintiffs

 property and any mvestigative and engineering fees incurred i n the claim. Plaintiff is also

 entitled to recover consequential damages from Defendant's breach o f contract. Plaintiff is

 also entitled to recover the amount of Plaintiff s claim plus an 18% per annum penalty on

 that claim against Defendant as damages under Section 542 of the Texas Insurance Code,

 plus prejudgment interest and attorneys fees. I n an effort to comply with Rule 47(c) o f the

 Texas Rules of Civil Procedure, Plaintiff seeks monetary relief over $100,000.00 but not

 more than $200,000,00. Therefore, all the damages described in this petition are within the

 jurisdictional limits of the Court.

                                 IX. ADDITIONAL DAMAGES

          Defendants have also "knowingly" and "intentionally" committed deceptive trade

 practices and unfair insurance practices as those terms are defined i n the applicable statutes.

 Because of Defendants' knowing and intentional misconduct, Plaintiff is entitled to

 additional damages as authorized by Section 17.50(b)(1) of the DTPA. Plaintiff is further




                                             Page 19 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                     Page 20 of 32 PageID 31

                                        067-276380-15



entitled to the additional damages that are authorized by Section 541 of the Texas Insurance

Code.

                               X. E X E M P L A R Y D A M A G E S

        Defendants' above and foregoing acts and omissions, as set forth above, were done

intentionally, with a conscious indifference to the rights and welfare o f Plaintiff, and with

"malice" as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies

Code. These violations by Defendants are the type of conduct which the State of Texas

protects its citizen against by the imposition of exemplary damages.         Therefore, Plaintiff

seeks the recovery of exemplary damages in an amount to be determined by the finder of

fact that is sufficient to punish Defendants for their wrongful conduct and to set an example

to deter Defendants and others similarly situated from committing similar acts i n the future.

                                  X I , A T T O R N E Y S ' FEES

        As a result of Defendants' conduct that is described in this petition, Plaintiff has been

forced to retain the undersigned attorneys to prosecute this action and have agreed to pay

reasonable attorneys' fees. Plaintiff is entitled to recover these attorneys' fees under Chapter

38 o f the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas

Insurance Code, and Section 17.50 of the DTPA.

                                    X I I , JURY D E M A N D

        Plaintiff asserts Plaintiffs right to a trial by jury, under Texas Constitution Article 1,

Section 15, and makes this demand for a jury trial at least 30 days before the date this case is

set for trial, i n accordance with Texas Rule of Civil Procedure 216. Plaintiff tenders the fee

of $30.00, as required by Texas Government Code Section 51,604.




                                         Page 20 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                      Page 21 of 32 PageID 32

                                        067-276380-15



                                XIII. REQUEST FORDISCLOSURE


         Pursuant to Texas Rule o f Civil Procedure 194.2, Plaintiff requests that Defendants

disclose, within 50 days of the service of this request, the information or material described

in Rule 194.2 ( a ) - ( l ) .

                                         X I V . PRAYER

 WHEREFORE, PREMISES CONSIDERED, Plamtiff prays that Defendants be cited to

 appear and answer herein, and mat upon trial hereof, said Plaintiff have and recover such

 sums as would reasonably and. justly compensate her in accordance with the rules of law and

 procedure, both as to actual damages, consequential damages, treble damages under the

 Texas Insurance Code and Texas Deceptive Trade Practices Act, and all punitive, additional,

 and exemplary damages as may be found.. In addition, Plaintiff requests tire award of

 attorney's fees for the trial, and any appeal of this case, for all costs of court, for prejudgment

 and post-judgment interest as allowed by law, and for any other and further relief, at law or

 in equity , to which she may show herself to be justly entitled .




                                                 Respectfully submitted,

                                                 SPEIGHTS & W O R R I C H
                                                 1350 North Loop 1604 East, Suite 104
                                                 San Antonio, Texas 78232
                                                 (210) 495-6789 (Telephone)
                                                 (210) 495-6790 (Facsimile)




                                                 By: L^b^^:<> ~.
                                                       CODXROBINSON                  /
                                                       Te^as-'State Bar No. 24085557
                                                       co&y @speightsfirm. com.

                                                 ATTORNEY F O R PLAINTIFF


                                           Page 21 of 21
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                              Page 22 of 32 PageID 33

                                                067-276380-15


   Providing Insurance and Financial Services
   Home Office, Bloomington, IL                                                       SzStateFarm


   February 22, 2013


   Khambao Montgomery Muldoon                                   State Farm Claims
   6305 Fox Hunt Qr                                             P.O. Box2323
   Arlington TX 76001-5655                                      Bloomington IL 61702-2323




   RE:      Qlaim Number:              43-252M-222
            Date of Incident;          February 12,2013
            Policy Number:             58TR71987
            Insured:                   Khambao Montgomery Muldoon

   Dear Khambao Montgomery Muldoon:

   Thank you for the opportunity to review your Homeowners claim. We have completed our
   evaluation of your claim and have determined your loss does not exceed your $1,979.00
   deductible. Therefore, we are unable to make a payment on this claim. Please see the enclosed
   estimate of damages for your personal records.

   If you have questions or need assistance, please call us at (866) 787-8676 Ext, 9244.

   Sincerely,




   Wendy A Lacey
   Independent Adjuster
   (866) 787-8676 Ext. 9244

   State Farm Lloyds




                                                EXHIBIT
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                              Page 23 of 32 PageID 34

                                                067-276380-15


   Providing Insurance and Financial Services
   Home Office, Btodmington, IL
                                                                                            StateFann

   June 09, 2014


   National Claims Negotiators Lie                              State Farm Claims
   1301 E Debbie Ln Ste 102 # 3 5                               P.O. Box 2323
   Mansfield TX 76063-3376                                      Bloomington IL 61702-2323




   RE:      Claim Number:          43-252M-222
            Date of Loss:          February 12, 2013
            Our Insured;           Khambao Montgomery Muldoon
            Policy Number:         58TR71987

   To Whom It May Concern:

   This letter and the enclosed documents per your request. We have also sent you a copy of the
   policy that is coming separate from these documents.

   If you have questions or need assistance, please call (866) 787-8676 Ext. 11574 and leave a
   voice mall message. We will return your call as soon as possible. Our centralized claim
   operation is also available to provide assistance. They can be reached at 877-783-1200,

   Sincerely,



   Greg Cardwell
   Claim Representative
   (866) 787-8676 Ext, 11574

   Fax: (877) 732-6556

   State Farm Lloyds
        Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                               Page 24 of 32 PageID 35

                                                      067-276380-15

MULDOON, KHAMBAO                                                                                                        43-252M-222



                                                    hStateFarm
                                                         State JFflriti
                                                        P.O. Box 2323
                                                 BJooinington, I L 61702-6556
                                                    Fax:1-877-732-6556



                                        Structural Damage Claim Policy

    When you have a covered structural damage claim to your real property, you should know;

         • We want you to receive quality repair work to restore the damages to your property.

         • We will provide you with a detailed estimate of the scope of the damage and costs of repairs, Should the
           contractor you select have questions concerning our estimate, they should contact your claim representative
           directly,

         • Depending upon the complexity of your repair, our estimate may or may not include an allowance for general •
           contractor's overhead and profit I f you have questions regarding general contractor's overhead and profit and '
           whether general contractor services arc appropriate for your loss, please contact your claim representative
           before proceeding with repairs,

         • There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
           items may or may not be covered by your policy. Please contact your claim representative if you have any •
           questions regarding coverage which may be available under your policy.

         • I f you select a contractor whose estimate is the same as or lower than our estimate, based on the same scope of
           damages, we will pay based upon their estimate, I f your contractor's estimate is higher than ours, you should
           contact your claim representative prior to beginning repairs.

         • State f a r m ® cannot authorize any contractor to proceed with work on your property, Repairs should proceed
           only with your authorization,

         • State Farm does not guarantee the quality of the workmanship of any contractor or guarantee that the work will
           be accomplished within any specific time frame,

         • It is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm,

    I f you have any questions or need additional information regarding your claim, please contact your claim
    representative immediately.




Date:    2/22/2013 4:33 PM                                                                        132214,1 06-18-2009        Page; 1
        Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                                                  Page 25 of 32 PageID 36

                                                              067-276380-15

 StateFarm                              Building Estimate Summary Guide                                                                          43-252M-222


                  This summary guide is based on a sample estimate and is provided for reference only.
                                Please refer to the estimate for specifics of your claim.

                                                                                                           1 Lint Item I otfti- lohl value of
                                   State Farm Insurance                                                       alt line items m the estimate plus
                                                                                                              adjustments for bare s< ivice charges
                                                                                                              Base Scryicc Chngcs ate- additional
          Insured: Smith, Joe & Jane                            Estimate; 00-0000-000                         charges that account for the coil the
         Property; I Main Street                           Claim Number; 00-0000-000                          contractor orscrtujeprovldci incurs
                                                                                                                                             1
                                                                                                              \Vlien mobilizing, scheduling, and
                     Anywhere, IL 00000-OOOQ               Policy Number; 00-00-0000-0
                                                                                                              transporting people and materials to the
    Type of Loss; Other                                        Price List; ILBL8FJNOV09A                             1
                                                                                                            - job su ?, and may b& Included 1n the Imp
                                                                           KestoratToti/Sert'ice/             ttemportioi ofyoui estimate
        Deductible; $500.00
                                                                           Remodel
                                                                           F = Factored In,                % GcntSial Contraetoi's Oyci head and
                                                                           D=Do Not Apply                    Ft 6fi( General contractor s charge for
                                                                                                             coordinating your repairs ~

                                   Summary for Dwelling                                                    3. Replacement Cosf Value (ItCV) ^
                                                                                                              Estimated cost (o repair or replace
   Line Item Total H i                                                                                        damnged properly
   Material Sales Tax                       @    10.000%       • iflk                  1f||?fS2,00
                                                                                                           4. Depreciation - 1 he decrease in the
   Subtotal                                                                      \      ^" 6,105.10           value of property over i period of
   General Contractor Overhead                                                                 610,51         tunc due to weai, tear, condition, and
                                                                                                              pbsolesccnco A portion or 8.11 of this
   General Contractor Profit                                                                   610,51         amount may bi> eliglbltfor
   Replacement Cost Value (Including Gett|rftM^itraetol^erhead and Profit) g                  7,326,12        replacement cost benefits "~
   LessDepreoiation (Includin^^|s) Q l Ipf!^                JF*                                (832,50)
                                                                                                           5   Deductible - fhe insurer vvdlpiy lor
   Less General Contractor O v e ^ l f ^ | o k t on1f|s^verable &                                              losses, up to (he policy limits, in excess
   Non-recoverable Depreciation"^ " % ^ €                                                      (165.50)
                                                                                                               of your applicable deductible
   Less Deductible                                                                             (500.00)
                                                                                             S5.827.12     6. J^et Actii il Cath Value Payment
                                                                                                                                   1

   Net Actual Cash %U%a;                                                                                      (ACV) - 1 he repair or replacement. tos>t
                                                                                                              of the damaged part of the property less
                                                                                                              depreciation and deductible
   ft->..^ Mfiximfi'm Additional Amounts Available I f Inclin ed:
              r


   Total Line Itejf Depreciation (Including Taxes) | §                 832,50                              7. Nor) Recoverable Depieeiatlon-
                                                                      <520,00>                                Depiectallon applied to items that
   Less "Rtojre'coverable Depreciation (Including Taxes)                                                      are not eligible for replacement cost
   Subtotal                                                              312,50                               benefits _                    ^
   General Contractor O&P on Depreciation                        166,50
   Less General Contractor O&P on Non-recoverable Depreciation_ <104,00>                                   8. cTntaLMaxImiim Additional Amount If.
                                                                                                               Incuued - Tohl amount of recoverable
   Subtotal                                                                          62,50                     dopicciatlori afcet actual repair or
   Total Maximum Additional Amount Available If Incurred g |                                   375,00          replacement of the property
   Total Amount of Claim If Incurred fU                                                      $6,202.12
                                                                                                           9. Total Amount of Claim Iflncui i ed -
                                                                                                              Total amount of the claim, including tieI
                                                                                                              aciuqlcash valueptnmnt andtotal
                                                                                                              "maximum additional amount available If
                                                                                                              inclined
   Claim Representative

   ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND LIMITS
   OF YOUR POLICY.


    You may be contacted in the future by a State Farm Rcinspcetor to review the handling of your claim.
                                     We appreciate your cooperation.

Date:    2/22/2013 4:33 PM                                                                                               139928 06-23-2010            Page; 2
        Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                                    Page 26 of 32 PageID 37

                                                       067-276380-15

                                                             Slate Farm
MULDOON, KHAMBAO                                                                                                             43-252M-222

             Insured;     MULDOON, KHAMBAO                                              Estimate:     43-252M-222
            Property;     6305 FOX HUNT DIl                                       Claim Number:       43252M222
                          ARLINGTON, T X 76001                                    Policy Number:      58-TR-7198-7
           Hpme:          (817)472-6079                                                Price List;    TXPF9F_FEB13
         Business;        (214) 882-5608                                                              Restoration/Service/Remodel
    Type of Loss;         Hail                                                                        F = Factored In, P = Do Not Apply
      Deductible:         $1,979.00
    Date of Loss:         2/12/2013
   Pate Inspected:        2/22/2013
                                                      Summary for Dwelling
        Line Item Total                                                                                                   1,008.48
        Material Sales Tax                @       8.250% x             206.01                                                17.00

        Replacement Cost Value                                                                                            1,025.48
        Less Deductible                                                                                                  (1,979.00)

        Replacement Cost Value Total                                                                                       (953.52)
        Net Payment                                                                                                          $0.00




        Lacey, Wendy
        (866) 878-8676 x 9244


    A L L AMOUNTS P A Y A B L E A R E SUBJECT TO T H E TERMS, CONDITIONS AND
    L I M I T S OF Y O U R P O L I C Y .

 Option OL

 Your estimate inckidos items which may be payable under Option OL- Building Ordinance or Law coverage. Items covered under
 Option OL are payable when the dwelling is repaired or replaced, This amount would be in addition to the "Total Maximum
 Additional Amount Available If Incurred". We will not pay more under Option OL than the amount you actually and necessarily
 spend subject to the terms, conditions and limits of the policy. If your dwelling is located in an area which is eligible for coverage
 through the Texas Windstorm Insurance Association, yon may also bo eligible for the increased costs to comply with the TWIA plan
 of operation,




Date;     2/22/2013 4:33 PM                                                                                                           Page; 3
        Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                               Page 27 of 32 PageID 38

                                                         067-276380-15

                                                                State Farm
MULDOON, KHAMBAO                                                                                                   43-252M-222

                                                           Source - EagleView



                                  Roof

                                                    3,190,62 Surface Area                     31.91 Number of Squares
                                                      292,04 Total Perimeter Length           26,26 Total Ridge Length
                                                      118.79 Total Hip Length




  DESCRIPTION                                                        QUANTITY           UNIT COST                          RCV

  1, R&R Roof vent - turtle type - Metal                                    3,00 E A       38,73                          116,19

  2, R&R Rain cap - 4" to 5"                                                2.00 E A       24.26                          48.52

  3, R&R Exhaust cap - through roof - 6" to 8"                              1,00 E A       62,33                          62.33

  There are no visible storm related damages to the shingles,


  Totals; Roof                                                                                                        227.04

  Area Totals: Source - BagleViev
                 723.07 Exterior Wall Area
               3,190,62 Surface Area                        31.91 Number of Squares          292.04 Total Perimeter Length
                  26.26 Total Ridge Length                 118,79 Total Hip Length

  Total! Source - EagleView                                                                                           227.04




                                                                 Interior



                                  Family Room                                                                     Height; 10'

                                                    1,145.14 SF Walls                       422,88 SF Ceiling
                                                    1,568,02 SF Walls & Ceiling             422,88 SF Floor
                                                      120,01 L F Ceil. Perimeter             111.76 L F Floor Perimeter




Date:    2/22/2013 4; 33 PM                                                                                                Page: 4
        Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                                       Page 28 of 32 PageID 39

                                                               067-276380-15

                                                                     State Farm
MULDOON, KHAMBAO                                                                                                              43-252M-222


                                         Subroom: L I V I N G J R O O M (2)                                                   Height: 10'

                                                             705.34 SF Walls                          318.65 SF Ceiling
                                                           1,023,98 SF Walls & Ceiling                318.65 SF Floor
                                                              70.53 L F Ceil. Perimeter                70.53 L F Floor Perimeter




  Missing Wall                                             4' 7" X 10'                         Opens into   FAMTLYJROQM
  Missing Wall                                             1'4 9/16" X 10'                     Opens Into   FAMILY_ROOM


                                       Subroom: K I T C H E N (1)                                                             Height: 10*

                                                            565.80 SF Walls                           328,97 SF CeJIiug
   t                i.                                      894,77 SF Walls & Coiling                 328.97 S F Floor
        fc          k                                        62.08 L F Ceil. Perimeter                 53,83 L F Floor Perimeter
                          1

                         rr
  Missing Wall - Goes to Floor                             8' 3" X 6' 8"                       Opens Into   FAMILYROOM
  Missing Wall                                             13' 10" X 10'                       Opens into   FAMILYROOM

  DESCRIPTION                                                                 QUANTITY          UNIT COST                          RCV

  4, Seal the surface area w/latex based stain blocker - one coat               25,00 SF             0.40                          10,00

  5. Paint the ceiling»one coat                                               1,070.50 SF            0,44                         471,02


  Totals: Family Room                                                                                                             481,02

  Area Totals; Interior
              2,416.27        SF Walls                          1,070,50 SF Ceiling                 3,486.77   S F Walls and Ceiling
              1,070,50        SF Floor                          1,146.89 Total Area                   236.13   L F Floor Perimeter
              1,070.50        Floor Area                          205.3 6 Exterior Perimeter          252,63   LFCeil. Perimeter
              2,259.00        Exterior Wall Area                          of Walls                  2,416,27   Interior Wall Area

  Total; Interior                                                                                                                 481.02




  Exterior
                         0,00 SF Walls                              0,00 SF Ceiling                    0.00 SF Wells & Ceiling
                         0,00 SF Floor                              0,00 SF Short Walt                 0.00 L F Floor Perimeter
                         0.00 SF Long Wail                                                             0,00 L F Ceil, Perimeter

  DESCRIPTION                                                                 QUANTITY          UNIT COST                          RCV

  There are no visible storm related damages to the exterior elevations of the home,


  Totals! Exterior                                                                                                                 0.00
Date:    2/22/2013 4;33 PM                                                                                                         Page: 5
        Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                        Page 29 of 32 PageID 40

                                                067-276380-15

                                                     State Farm
 MULDOON, KHAMBAO                                                                                           43-252M-222

   Line Item Subtotals: 43-252M-222                                                                               708.06




  Adjustments for Base Service Charges                                                                    Adjustment

  Painter                                                                                                          95.94
  Roofer                                                                                                          204,48

  Total Adjustments for Base Sen'ioe Charges:                                                                     300,42

  L I N E I T E M T O T A L S : 43-2S2M-222                                                                      1,008.48




  Grand Total Areas:
              2,416.27 SF Walls'                1,070.50 SF Ceiling                3,486.77 SF Walls and Ceiling
              L070.50 SF Floor                                                       236,13 L F Floor Perimeter
                                                                                     252.63 L F Ceil, Perimeter

              i,070.50 Floor Area               1,146.89 Total Area                2,416,27 Inferior Wall Area
              2,982.08 Exterior Wall Area        205.36 Exterior Perimeter of
                                                         Walls

              3,190,62 Surface Area               31,91 Number of Squares           292,04 Total Perimeter Length
                 26.26 Total Ridge Length        118.70 TotalHip Length




Date:   2/22/2013 4:33 PM                                                                                          Page: 6
Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15           Page 30 of 32 PageID 41

                             067-276380-15

                                                                                     AH




                H.i,<H                                                   -.V—)

                                               r-U*H                    55
                 r- £
                 1, X

         am-
                                                       U.e -t



                                              11




                                    »i   M-
                .9,6-
                                   • ,s m •




                                                                                     2


                                                                                     o




                                                                                     1)
                                                                                     1S
                               Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15   Page 31 of 32 PageID 42
                                                             067-276380-15
Source - EagleView




                                                                                                                          GO
                                                                                                                          t
                                                                                                            Source - Eagle Vfew



                                                                                                                    Page: 8
   Date:   2/22/2013 4:33 PM
         Case 4:15-cv-00114-Y Document 1-5 Filed 02/12/15                                                                                       Page 32 of 32 PageID 43
                                                                  C I V I L CASE INFORMATION SHEET
                                                           067-276380-15
              CAUSE N U M B U I   (ran crnn un      OM \)                                                              COIIM         (i m ( LLRK r;yr ovti}
                 STYLEDI                                                   4U                                                                X
                                                              _ —i
                                  (e.g., John Smillvv; u l U m m i i iiisarauceco: fit re Mary Aim Jones: In the (slittlcr of the iistnto ot George Jackson) . j
  A olvil case information sheet must be completed ami submitted when an original petition or application is tiled to initiate a new civil: family law probate or mental
  health case or when a post-iudgmedt petition for modilieation or motion for enforcement is filed in a family law case. The information should he Hid lien available at
  the l ime of filing,                                                                             '

. 1, Goiilaetinformatwn lor peitpn comptetmR case information sheet:                      Niuiics of parffes.intastsi                                             t ' m o n or entity, completing sheet is;
                                                                                                                                                                 lAttomey for PliunUff/Petitoncr
 Name:                                      Email:                                        PlaiiitiffiJs)/Petitioner(s):                                       • f r o Se Plaintiff/Petitioner
  Todd A, Worrich                                                                                                                                             • T i t l e IV*D Agency
                                             todd@speiglitsfkm. com                                                                                           •Other:
                                                                                          ——                                  ,;/-               f
 Address:                                   Telephone;
 1350'North Loop 1604 Bast                                                                                                                                    Additioiiii! Parties in Child Svipport Case:
                                                   210- 495-6789
 .Suite I ('14        _ _ _ _ _
                                                                                          Defend ant(s)fllespbndcnt(s);                                       Custodial Parent;
 City/Stats/Zip:                            Fax:
                                                                                                                         j
  San Antonio, TX 78232                              510-495-6790                                              f^ _J__L                                       •Non-Custodial Parent:

 giguatnre:                                 State Bar No;
                                                                                                                                                              Presumed Fattier;
                                                 24037740
                                                                                          | A I ( H C } I addimjftsl page as iieccssafy to list ai! pantos]

i . Imlica te CMe type, or identify the most inipbrlant issue in the case (select oilfy 1):
                                                   Civil
                                                                                                                                                                              Post-jiidgnientActions
              Contract                      j l n j iiryoi; Unmade                        Real P r o p e r t y                     Marriage Helntimisliip
Debt/CaMmcl                           •Assault/Battery                         QHminenldojnain/                                  •Annulment                                •Enforcement
  •Consumer/DTPA                      •Construction                                Condemnation                                  • D e c l a r e Marriage Void             •Modification—Custody
   •Debt/Contract                     •Defamation                              • Partition                                       Divorce                                   •Modification—Other "
  •Fraud/Misrepresentation            Malpractice                              • Q u i e t Title                                    • W i t h . Children                   „_..      Title 1V-1>
  • O t h e r Debt/Contract:            •Accounting                            • T r e s p a s s to Try Title                       • N o Children                     I    •Enforcement/Modification
                                        •Legal                                 • O t h e r Property;                                                                       •Paternity
Foreclosure                             •MetUeal
                                                                                                                                                                           •Reciprocals (U1FSA)
    • H o m e Equity—Expedited          • O t h e r Protosipnai
                                                                                                                                                                           •Support Order
   • O L h p r Foreclosure                  Liability;
•Franchise                                                                         Related to C i irnimil
Iltrtsufaiiee                         • M o t o r Vehicle Accident                        Matters                                    Oltitf F n i n i l y i , « w             Parent-Child Relationship
•ijindloriiiTenan!                    •Premises                                P B x p unction                                   • E n f o r c e Poreij                     •Adoption/Adoption with
•Non-Competition                      Product      Liability                   •Judgment Nisi                                        Judgment                                   Termination
•Partnership                            •Asbestos/Silica                       • Non-Disclosure                                  • H a b e a s Corpus                      • C h i l d Protection
• O t h e r Cpiitraot:                  • O t h e r Product Liability          •Seizure/Forteitare                               • Name Change                             • c h i l d Support
                                            List Product:                      • Writ of Habeas Corpus-                          • Protective Order                        • C u s t o d y or Visitation
                                                                                  Pre-indictment                                 • R e m o v a l ofpisabilities            •Gestational Parenting
                                      • O t h e r •injury or Damage:           •Other;                                               of Minority                           •Grandparent Access
                                                                                                                                 •Other;                                   •Parentage/Paternity
                                                                                                                                                                           • t e r m i n a t i o n of Parental
          Employment                                                 ' Other Civil                                                                                              Rights
                                                                                                                                                                           • O t h e r Pamnt-ChiW:
•Discrimination                        •Administrative Appeal                  • L a w y e r Discipline
•Retaliation                           •Antitrust/Unfair                       •Perpetuate Testimony
•Termination                               Competition                         •Securilics/Stoet;
• W o r k e r s ' Compensation         • C o d e Violations                    • T o r t i o u s Interference
• O t h e r Employment;                • F o r e i g n Judgment                •Other:,.
                                       •intellectual Property


                 Tax                                                                               Probate & Mental Health
 • T a x Appraisal                     PrabatiifinitiSntestafeAdmitiistmtimi                                            •Guardianship—Adult
 • T a x Delinquency                      •Dependent Administration                                                     •Guardianship—Minor
 • O t h e r Tax                          •lnde]ioiuleiitAdnuniatration                                                 • M e n t a l Health
                                          • O t h e r Estate Proceedings                                                •other:           .


3,;lndtente procedure or remedy, i f applicable (may select more than J)-,
 • A p p e a l from Municipal or Justice Court             •Declaratory Judgment                                                              •Prejudgment Remedy
 •Arbitration-related                                      •Garnishment                                                                       •Protective Order
 •Attachment                                              •Interpleader                                                                       •Receiver
 • B i l l of Review                                       • License                                                                          •Sequestration
 •Certiorari                                              •Mandamus                                                                           • T e m p o r a r y Restraining Order/Injunction
 • C l a s s Action                                       • Post-judgment                                                                     •Turnover
4. Indicate diimaacssough^
• L o s s than $100,000, including Damages ofany (dud, penalties, costs, expenses, prejudgment interest, and attorney fees
• L e s s (Iran 5100,000 and non-monetary relief                                                                                                              ATTEST      - IS
• O v e r $.100,000 but not more than $200,000
• O v e r $200,000 but not more than $1,000,01X1                                                                                                                THOMAS A. WILDER
• O v e r $.1,000,006                                                                                                                                               DISTRICT C L E R K



                                                                                                                                                                                        JONES
